                         Case 3:13-cv-00628-RCJ-CLB Document 300 Filed 10/21/22 Page 1 of 1

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                15
                                                   UNITED STATES DISTRICT COURT
                16                                      DISTRICT OF NEVADA
                17
                         APPLICATIONS IN INTERNET TIME, LLC,           No. 3:13-CV-00628-RCJ-CLB
                18
                                                                       SALESFORCE’S OPPOSITION TO
                19                           Plaintiff,                AIT’S MOTION TO EXCLUDE THE
                                                                       TESTIMONY OF CHRISTOPHER A.
                20            v.                                       MARTINEZ
                21
                         SALESFORCE, INC.,
                22                                                     ORAL ARGUMENT REQUESTED
                                             Defendant.
                23

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                25                                        FILED UNDER SEAL
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                                                                                    Case No. 3:13-CV-00628-RCJ-CLB
04554-00001/13693823.1          SALESFORCE OPP. TO AIT’S MOT. TO EXCLUDE TESTIMONY OF CHRISTOPHER A. MARTINEZ
